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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

JAMES M. GALLIGAN,

                      Plaintiff,

v.                                                  Case No. 11-CV-2004 JAR-JPO

FMS, INC.,

                      Defendant.

                                       STIPULATION

         COMES NOW Defendant FMS, Inc. (“FMS”), by and through its counsel of record, and

stipulates that it will not seek costs in this action as the prevailing party. This stipulation is

contingent upon the dismissal by Plaintiff/Appellant of his appeal filed in this action with the

10th Circuit Court of Appeals.

                                                    Respectfully submitted,


                                                    s/ S. Douglas Mackay
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                                    CERTIFICATE OF SERVICE

         I hereby certify that on this ____ day of July, 2012, I electronically filed the above and

foregoing with the Clerk of the Court by using the CM/ECF system, which will send notice of

electronic filing to the following:

                   J. Mark Meinhardt
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                   Attorney for Plaintiff

                                                      s/ S. Douglas Mackay
                                                      S. Douglas Mackay                    #16788




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